Cadle 5:17-cr-00239-PA Document 14 Filed 12/15/17 Page1of4 Page ID #:36

r WwW NN

co F&F SS DB WN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

FILED
CLERK, U.S. DISTRICT COURT

DEC 1 5 20il

 

  

 

RNIA
CENTRAL DISTRICT, CALIFO

EASTERN DIVISIO BY DEPUTY,
: ‘

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff, }CASENO, O:/FCR229-PA

v

Uejuin, Celuccwrels _) ORDER OF DETENTION

Defendant.

 

I.
A.) On motion of the Government in a case allegedly involving:

1. ( )  acrime of violence.

2. (_)  anoffense with maximum sentence of life imprisonment or death.

3. (.) anarcotics or controlled substance offense with maximum sentence
of ten or more years .

4.() any felony - where the defendant has been convicted of two or more
prior offenses described above.

5. (.) any felony that is not otherwise a crime of violence that involves a
minor victim, or possession or use of a firearm or destructive device
or any other dangerous weapon, or a failure to register under 18
U.S.C § 2250.

B. ( On motion by the Government / (_) on Court’s own motion, in a case

 

ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

CR-94 (06/07) Page I of 4

 
Cas

So Oo SN DB OO BP WD NO eS

NO NO NO NO NY NY NY RO RO wm ee a i
ao ND YW FF BY NY KF DOD OO HY DR OR BR OD DW Be Oo

PB 5:17-cr-00239-PA Document 14 Filed 12/15/17 Page 2 of4 Page ID #:37

allegedly involving:
( ) On the further allegation by the Government of:
1. ( a serious risk that the defendant will flee.
2. () aserious risk that the defendant will:
a.(_) obstruct or attempt to obstruct justice.
b.( ) threaten, injure, or intimidate a prospective witness or juror or
attempt to do so.
C. The Government (_) is/ U6 not entitled to a rebuttable presumption that no
condition or combination of conditions will reasonably assure the defendant’s

appearance as required and the safety of any person or the community.

IL.
A. MT he Court finds that no condition or combination of conditions will

reasonably assure:
1. th appearance of the defendant as required.

(.) and/or
2. (-) | the safety of any person or the community.
B.() The Court finds that the defendant has not rebutted by sufficient

evidence to the contrary the presumption provided by statute.

II.

The Court has considered:

A. the nature and circumstances of the offense(s) charged, including whether the
offense is a crime of violence, a Federal crime of terrorism, or involves a minor
victim or a controlled substance, firearm, explosive, or destructive device;

B. the weight of evidence against the defendant;

C. the history and characteristics of the defendant; and

D. the nature and seriousness of the danger to any person or to the community.

 

 

ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

CR-94 (06/07) Page 2 of 4

 
Cag

NO

Sa HD HA BP WH

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

b 5:17-cr-00239-PA Document 14 Filed 12/15/17 Page 3of4 Page ID #38

IV.
The Court also has considered all the evidence adduced at the hearing and the
arguments and/or statements of counsel, and the Pretrial Services

Report/recommendation.

V.
The Court bases the foregoing finding(s) on the following:
A.(4~ Asto flight risk: date 7 dudtrcied bert
AEB CUES g , Atneied dieters a aul
Atta floveive Attend abaage a auctuaty

 

 

 

 

 

 

B.() As to danger:

 

 

 

 

 

 

 

VI.
A.( ) The Court finds that a serious risk exists that the defendant will:
1.( ) obstruct or attempt to obstruct justice.

2.( ) attempt to/( ) threaten, injure or intimidate a witness or juror.

 

ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

 

CR-94 (06/07) Page 3 of 4

 
&

Cade 5:17-cr-00239-PA Document 14 Filed 12/15/17 Page 4of4 Page ID #:39

Co F&F IN DO OW BP YD NO

NY NHN NH NY NY YN NY NY RO me ea a ea a a
oN DN We YW NY Ke DO CO HD DR OR BRB HD FO

B. The Court bases the foregoing finding(s) on the following:

 

 

 

 

 

 

 

VI.

. [f IS THEREFORE ORDERED that the defendant be detained prior to trial.
. IT IS FURTHER ORDERED that the defendant be committed to the

custody of the Attorney General for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal.

. IT TS FURTHER ORDERED that the defendant be afforded reasonable

opportunity for private consultation with counsel.

. IT IS FURTHER ORDERED that, on order of a Court of the United States

or on request of any attorney for the Government, the person in charge of
the corrections facility in which the defendant is confined deliver the
defendant to a United States marshal for the purpose of an appearance in

connection with a court proceeding.

DATED: 2} ls} ly) ae

 

 

SHASHI H. KEWALRAMANI
UNITED STATES MAGISTRATE JUDGE

 

 

ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

CR-94 (06/07) Page 4 of 4

 
